Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 1 of 32




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA, and        )
   THE OSAGE MINERALS COUNCIL,          )
                                        )
                Plaintiffs,             )
                                        )
   vs.                                  )     Case No. 14-CV-704-GKF-JFJ
                                        )
   OSAGE WIND, LLC;                     )
   ENEL KANSAS, LLC; and                )
   ENEL GREEN POWER NORTH               )
   AMERICA, INC.,                       )
                                        )
                Defendants.             )



           DEFENDANTS’ RESPONSE TO PLAINTIFF THE UNITED STATES’
                MOTION FOR SUMMARY JUDGMENT [Dkt. # 300]


    Ryan A. Ray, OBA #22281                 Lynn H. Slade, pro hac vice
    NORMAN WOHLGEMUTH, LLP                  Sarah M. Stevenson, pro hac vice
    3200 Mid-Continent Tower                Dominic A. Martinez, pro hac vice
    401 South Boston Avenue                 MODRALL, SPERLING, ROEHL,
    Tulsa, OK 74103                         HARRIS & SISK, P.A.
    918-583-7571                            Post Office Box 2168
    918-584-7846 (facsimile)                Albuquerque, NM 87103-2168
                                            505-848-1800
                                            505-848-9710 (facsimile)

    Thomas J. McCormack, pro hac vice       Of Counsel:
    Robert Kirby, pro hac vice              Robin D. Ball (Los Angeles Office), pro hac
    NORTON ROSE FULBRIGHT US LLP            vice
    1301 Avenue of the Americas             Robert D. Comer (Denver Office), pro hac
    New York, NY 10019                      vice
    212-318-3000                            NORTON ROSE FULBRIGHT US LLP
    212-318-3400 (facsimile)

                                            ATTORNEYS FOR DEFENDANTS
                                            OSAGE WIND, LLC, ENEL KANSAS,
                                            LLC AND ENEL GREEN POWER
                                            NORTH AMERICA, INC.
    Dated: November 2, 2021
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 2 of 32




                                                   TABLE OF CONTENTS
                                                                                                                                Page

   TABLE OF AUTHORITIES ..................................................................................................... iii
   INTRODUCTION ...................................................................................................................... 1
   RESPONSE TO PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS .......... 2
   DEFENDANTS’ STATEMENT OF ADDITIONAL MATERIAL FACTS
   THAT PRECLUDE SUMMARY JUDGMENT IN FAVOR OF PLAINTIFF ............................. 4
   ARGUMENT AND AUTHORITIES .......................................................................................... 6
   I.        Defendants—Not Plaintiff—Are Entitled to Summary Judgment on
             Plaintiff’s “Continuing Trespass” Claim. .........................................................................6

             A.        The “Presence” of the Project Is Not and Never Has Been a Trespass...................7

             B.        “Support” the Surface Receives from the Mineral Estate Does
                       Not Render the Project a Trespass. .......................................................................9

             C.        The Alleged “Buffer Zone” Around the Wind Turbines Is Not a Trespass. ......... 11

   II.       Defendants—Not Plaintiff—Are Entitled to Summary Judgment on Plaintiff’s
             Demand for Removal of the Project. ..............................................................................13

             A.        Plaintiff Cannot Satisfy the Requirements for a Permanent Injunction. ............... 13

                       1.        No Irreparable Harm Will be Suffered Absent an Injunction. ..................14

                       2.        The One-Sided Balance of Harms Precludes an Injunction......................15

                       3.        Compelling Public Interests Preclude an Injunction. ...............................17

             B.        Plaintiff Cannot Evade the Requirements for a Permanent Injunction
                       with its Purported “Legal Remedy of Ejectment.” ..............................................20

   III.      The Calculation of Damages Must Await a Trial............................................................21

             A.        Plaintiff’s Demand for “Lost Rental Value for the Entire Mineral Estate”
                       Has No Basis in Law or Fact and, at Most, Presents Factual Disputes. ...............21

             B.        The Measure of Damages that Should Be Applied at Trial is the Royalty
                       Value to the OMC of the Volume of Rock Crushed by Defendants. ...................24

             C.        At Most, Plaintiff’s Unfounded Attacks on Defendants’ Good Faith
                       Present Factual Disputes Not Suitable for Summary Judgment ...........................24

   CONCLUSION AND REQUESTED RELIEF .......................................................................... 25


                                                                    ii
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 3 of 32




                                                TABLE OF AUTHORITIES

                                                                                                                         Page(s)
   Cases

   Abilene Retail # 30, Inc. v. Bd. of Comm’rs,
      492 F.3d 1164 (10th Cir. 2007)............................................................................................ 23

   Angier v. Mathews Exploration Corp., 905 P.2d 826 (Okla. Ct. App. 1995) ................................ 9

   Beal v. Western Farmers Elec. Coop., 228 P.3d 538 (Okla. Civ. App. 2009) ............................. 12

   Beck v. Northern Natural Gas Company, 170 F.3d 1018 (10th Cir. 1999) ................................. 21

   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) ........................................ 23

   Davilla v. Enable Midstream Partners L.P.,
      913 F.3d 959 (10th Cir. 2019) .................................................................. 8, 10, 13, 14, 17, 20

   Dilworth v. Fortier, 405 P.2d 38 (Okla. 1964) ........................................................................... 24

   Edwards v. Lachman, 534 P.2d 670 (Okla. 1974) ...................................................................... 24

   Ellis v. Ark. La. Gas Co., 450 F. Supp. 412 (E.D. Okla. 1978) ..................................................... 8

   Fairlawn Cemetery Ass’n v. First Presbyterian Church,
      496 P.2d 1185 (Okla. 1972) ....................................................................................... 8, 14, 20

   First W. Cap. Mgmt. Co. v. Malamed, 874 F.3d 1136 (10th Cir. 2017). ..................................... 19

   Gen. Motors Corp. v. Harry Brown’s, LLC, 563 F.3d 312 (8th Cir. 2009) ................................. 18

   Goodly v. Check-6 Inc., 2018 WL 4092015 (N.D. Okla. Aug. 1, 2018) ....................................... 2

   Greyhound Lines, Inc. v. Peter Pan Bus Lines, Inc.,
      845 F. Supp. 295 (E.D. Pa. 1994) ........................................................................................ 17

   Haynes Trane Serv. Agency, Inc. v. Am. Standard, Inc.,
      573 F.3d 947 (10th Cir. 2009) ............................................................................................. 21

   Kobach v. Fish, 840 F.3d 710 (10th Cir. 2016) .......................................................................... 19

   Lapham v. Watts Regulator Co., 2016 WL 248471 (D. Kan. Jan. 21, 2016)............................... 23

   Lawrence v. City of Owasso, 2014 WL 693443 (N.D. Okla. Feb. 21, 2014)................................. 2

   Malloy v. Monahan, 73 F.3d 1012 (10th Cir. 1996) ................................................................... 16

   Marsh v. Brooks, 49 U.S. 223 (1850) ........................................................................................ 20

                                                                  iii
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 4 of 32




                                                                                                                                    Page(s)

   Millsap v. Andrus, 717 F.2d 1326 (10th Cir. 1983) .................................................................... 11

   Muscogee (Creek) Nation v. Henry,
     2010 WL 1078438 (E.D. Okla. Mar. 18, 2010) .................................................................... 18

   O’Brien Oil, LLC v. Norman, 233 P.3d 413 (Okla. Civ. App. 2010) ............................................ 8

   Osage Nation ex rel. Osage Mins. Council v. Wind Cap. Grp., LLC,
      2011 WL 6371384 (N.D. Okla. Dec. 20, 2011).................................................. 12, 13, 16, 18

   Schrier v. Univ. of Colo., 427 F.3d 1253 (10th Cir. 2005).......................................................... 14

   Seneca-Cayuga Tribe of Oklahoma v. State of Oklahoma ex rel. Thompson,
      874 F.2d 709 (10th Cir. 1989) ............................................................................................. 15

   Sierra Club, Inc. v. Bostick, 539 Fed. App’x 885 (10th Cir. 2013) ............................................. 16

   Sunray Oil Co. v. Cortez Oil Co., 112 P.2d 792 (Okla. 1941) ...................................................... 8

   United States v. Osage Wind, LLC, 871 F.3d 1078 (10th Cir. 2017) ................................... passim

   W. Watersheds Project v. Salazar, 692 F.3d 921 (9th Cir. 2012)................................................ 18

   Walker v. Apex Wind Constr., LLC,
      2015 WL 3686729 (W.D. Okla. June 12, 2015) ................................................................... 12

   Weyerhaeuser Co. v. Brantley, 510 F.3d 1256 (10th Cir. 2007) ................................................. 24

   Williamson v. Fowler Toyota, Inc., 956 P.2d 858 (Okla. 1998) .................................................. 11

   Rules, Statutes, Regulations, and Other Authorities

   60 Okla. Stat. Ann. § 66 ............................................................................................................ 11

   Fed. R. Civ. P. 56(c)(1)(a) ........................................................................................................... 2

   Federal Rule of Evidence 702.................................................................................................... 23

   LCvR56 ................................................................................................................................ 2, 24

   25 C.F.R. Part 214..................................................................................................... 9, 11, 19, 22

   25 C.F.R. Part 226..................................................................................................................... 19

   25 C.F.R. § 211.3 .................................................................................................................... 7, 8

   25 C.F.R. § 214.4 ...................................................................................................................... 11

                                                                        iv
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 5 of 32




                                                                                                                                  Page(s)

   25 C.F.R. § 214.7 .................................................................................................................... 2, 3

   25 C.F.R. § 214.14 .............................................................................................................. 11, 12

   25 C.F.R. § 226.19 .................................................................................................................... 12

   25 C.F.R. § 226.43(a) ................................................................................................................ 19

   Restatement (Second) of Torts §§ 819, 821 ..........................................................................10-11




                                                                       v
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 6 of 32




           Defendants Osage Wind, LLC (“Osage Wind”), Enel Kansas, LLC (“Enel KS”), and Enel

   Green Power North America, Inc. (“EGPNA” and, together, “Defendants”) respond in opposition

   to plaintiff the United States’ (“Plaintiff”) summary judgment motion (Dkt. # 300) (the “Motion”

   or “Pl.’s Br.”).

                                            INTRODUCTION

           Plaintiff moves for summary judgment on continuing trespass, trespass, and conversion,

   and requests this Court, without trial, order removal of Osage Wind’s 84-turbine, 150 MW wind

   generation facility (the “Project”) and also award nearly $26 million in damages. Defendants, not

   Plaintiff, are entitled to summary judgment on Plaintiff’s demand for removal of the Project and

   continuing trespass claim. The Tenth Circuit’s ruling settled that the presence of the Project

   requires no “mining” lease and is not a trespass of any kind. Nor has Plaintiff provided any

   evidence of any harm that would be prevented by the extraordinary order they seek. And Plaintiff

   has no answer for the nearly $260 million in harm that would befall Osage Wind, or for the school

   superintendents, county treasurer, and local landowners who now attest to the public harms that

   forced removal of the Project would wreak. Plaintiff’s damages demand for “lost rental value for

   the entire mineral estate” calculated over a 45-year period has no basis in law or fact, and relies on

   misreading the Tenth Circuit’s opinion and testimony of a purported “expert” whose speculative

   opinions should be excluded. At minimum, this damages demand presents factual disputes.

           Insofar as the Tenth Circuit held crushing rock for backfill required a mining lease, Osage

   Wind and EGPNA do not oppose summary judgment as to liability (only) on Plaintiff’s trespass

   and conversion claims. As to Enel KS, a separate holding company that neither owned nor

   constructed the Project, Plaintiff proffers no evidence of liability and the Motion should be denied
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 7 of 32




   in its entirety. 1 This case should proceed to trial for a determination of damages equal to the

   royalty value of the rock crushed for backfill, which, according to the parties’ respective mining

   engineering experts, totals no more than $247,979.42 nor less than $68,993.

       RESPONSE TO PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS2

          1.      Not disputed.

          2.      Not disputed that Osage Wind entered into leases with surface estate owners, and

   did not enter into a mining lease under 25 C.F.R. § 214.7.

          3.      Objection; violates Fed. R. Civ. P. 56(c)(1)(a) as the evidence cited does not support

   the facts asserted. Not material because “digging a hole in the ground, displacing rock and soil in

   the process,” and then “building” in the hole, did not require a lease under 25 C.F.R. § 214.7. See

   United States v. Osage Wind, LLC, 871 F.3d 1078, 1092 (10th Cir. 2017). Further disputed to the

   extent Plaintiff’s use of the term “Defendants” falsely implies that Enel KS engaged in or was

   otherwise responsible for any “mining.”

          4.      Disputed. Approximately 25% of the material excavated for each foundation was

   not used as backfill, and was instead left on the surface. Ex. 1 (Moskaluk Tr.) at 39:10-40:17; Dkt.




   1
    Defendants incorporate by reference Part V of their response to the OMC’s summary judgment
   motion (“Opp. to OMC”), to further explain why the Motion should be denied as to Enel KS.
   2
     The majority of the purported facts and exhibits referenced in the Motion do not appear in
   Plaintiff’s Statement of Undisputed Facts (“SUF” and, Defendants’ responses, “RSUF”), and are
   not “set forth in concise, numbered paragraphs” therein as required by LCvR56(b). For that reason,
   Defendants request the Court strike Pl.’s Ex. 7 through 26, and all factual assertions relying
   thereon. See Goodly v. Check-6 Inc., 2018 WL 4092015, at *1 (N.D. Okla. Aug. 1, 2018) (Frizzell,
   J.). Defendants further request the Court strike Pl.’s Ex. 8, the Expert Report of Steven Hazel, as
   “[u]nsworn expert reports are not competent to be considered on a motion for summary judgment.”
   Lawrence v. City of Owasso, 2014 WL 693443, at *5 (N.D. Okla. Feb. 21, 2014) (Frizzell, J.).

                                                    2
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 8 of 32




   # 17-1 at ¶ 15(a)(i); Ex. 2 (Oct. 5 Price Tr.) at 96:12-16. 3 Mr. Mazurowski, Project Manager for

   construction contractor IEA Renewable Energy, Inc. (“IEA”), testified the material was not used

   for purposes other than backfill or foundational support. Ex. 3 (Mazurowski Tr.) at 35:2-12. He

   further testified that the excavated material was not used for road construction purposes, for crane

   pads, or for drainage. Id. at 45:12-19, 80:15-81:4 (APAC invoice was for road construction),

   138:10-15; Ex. 4 (APAC P/O). Further disputed to the extent Plaintiff implies that “excavation”

   without crushing rock for backfill constitutes “mining,” which it does not. Further disputed that

   the evidence cited concerns Enel KS.

          5.      Disputed. Mr. Mazurowski of IEA, whose testimony is the sole support SUF ¶ 5

   cites, testified he assumed but did not recall that poles had been erected, did not recall excavated

   material being used for backfill, and instead expects “they would have likely used the quarry”

   located nearby for fill material. Ex. 3 (Mazurowski Tr.) at 46:7-47:24. Further disputed to the

   extent Plaintiff implies that “excavation” without crushing rock for backfill constitutes “mining.”

          6.      Disputed to the extent Plaintiff implies rock was crushed for the collector system;

   no such crushing occurred and Plaintiff cites no evidence showing otherwise. Ex. 5 (July 21 Price

   Tr.) at 235:24-236:15; Ex. 6 (Sept. 30 Pike Tr.) at 125:17-127:14; 130:7-23, 132:7-133:10.

   Further disputed to the extent Plaintiff implies excavation of the collector system and replacement

   of excavated materials into holes from which it was removed without crushing rock was mining.

          7.      Defendants do not dispute that minerals purchased offsite could have been used in

   lieu of crushing excavated rock. The remainder of SUF ¶ 7 is disputed to the extent it suggests

   Defendants believed they had any obligation to obtain a mining lease under 25 C.F.R. § 214.7 for


   3
    Unless otherwise indicated, all “Ex.” cites refer to exhibits filed herewith. For convenience,
   Defendants use the same exhibit numbering here as they do in their Opp. to OMC. Certain exhibits
   have been authenticated in the accompanying Beauregard Declaration (Ex. 53).

                                                    3
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 9 of 32




   any of their activities; excavated materials were used for backfill in the good faith belief, and based

   on the advice of counsel, that no such lease was required. Ex. 5 (July 21 Price Tr.) at 154:2-12;

   id. at 46:24-47:5, 136:12-137:11, 137:12-138:8, 190:17-191:22; Ex. 7 (Champagne Tr.) at

   181:8-15.4 The citation to Pl.’s Ex. 4 is inapposite because it refers to importing “material from

   outside the County,” when such material was available from nearby quarries. Ex. 3 (Mazurowski

   Tr.) at 82:10-83:1; Ex. 4. The final sentence of SUF ¶ 7 is further disputed. The evidence cited is

   an email containing an estimate of cost, not savings (as Plaintiff incorrectly claims). See Pl.’s

   Ex. 6 (estimating “what it would have cost to backfill with imports” at a total of $23,148/turbine

   foundation). The email then reports the cost of “[e]ach site crushed” at $25,863, indicating that

   crushing was more than $1,500/foundation more expensive than importing backfill. Id. Further,

   the estimate was provided by an IEA employee, Mr. Mazurowski, not by any of the Defendants as

   SUF ¶ 7 asserts. Id. Further disputed that the evidence cited concerns Enel KS.

          8.      Not disputed that SUF ¶ 8 quotes part of one sentence from the Tenth Circuit’s

   decision containing a legal conclusion. Disputed that it constitutes a full statement of that decision.

                DEFENDANTS’ STATEMENT OF ADDITIONAL MATERIAL FACTS
               THAT PRECLUDE SUMMARY JUDGMENT IN FAVOR OF PLAINTIFF

          1.      No excavated sand, soil, or rock was sold. Ex. 1 (Moskaluk Tr.) at 70:14-19.




   4
     That Defendants acted in good faith and on the advice of counsel is further demonstrated by the
   following evidence (further discussed in Opp. to OMC, Part II.B): Ex. 8; Ex. 9; Ex. 10 (Lucero
   Dec.) at Ex. 1 (Nov. 15, 2013 OMC minutes); Ex. 11 (Nov. 19, 2013 email); Ex. 12 (Oct. 22, 2014
   email); Ex. 13 (Oct. 9, 2014 email); Ex. 14 (Oct. 10, 2014 letter); Ex. 15 (Oct. 11, 2014 emails);
   Ex. 16 (Oct. 12, 2014 email); Ex. 17 (re: Oct. 15, 2014 call); Ex. 18 (Oct. 17, 2014 email); Ex. 19
   (Oct. 17, 2014 emails); Ex. 20 (Oct 1, 2014 email); Ex. 2 (Oct. 5 Price Tr.) at 25:22-25, 44:2-45:7,
   46:20-48:18; Ex. 5 (July 21 Price Tr.) at 33:4-34:1, 46:24-48:2, 127:2-5, 136:12-137:4, 137:12-
   138:8, 154:7-12, 190:17-191:22; Ex. 7 (Champagne Tr.) at 21:2-14, 129:13-130:24, 134:17-135:7,
   164:2-165:5, 166:6-167:5, 204:23-205:14; Ex. 21 (Hale Tr.) at 23:9-24:9; Ex. 22 (Freeman Tr.) at
   166:14-22; 168:6-169:4; Ex. 23 (Phillips Tr.) at 94:9-99:10.

                                                     4
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 10 of 32




           2.      No excavated sand, soil, or rock was moved to, or used in any way at, any location

    other than the site at which it had been excavated. Dkt. # 29 at 3; Ex. 1 (Moskaluk Tr.)

    at 67:21-69:7, 138:17-24, 141:18-22, 142:17-143:9, 145:16-22, 148:13-22.

           3.      All crushing of excavated rock was completed in 2014. Ex. 24 (Herfurth Dec.) at

    ¶¶ 6-7 & Ex. B at 1-2.

           4.      The Project entered commercial operation in 2015. Ex. 25 (Price Dec.) ¶ 3; Ex. 5

    (July 21 Price Tr.) at 27:7-28:11. The Project generates 150.4 MW of energy, sufficient to meet

    the energy consumption needs of over 50,000 households. Ex. 26 (Pike Dec.) ¶ 7.

           5.      Robert C. Freas, an expert witness for the United States, testified that the total value

    to the OMC of the minerals “mined” was $247,979.42. Ex. 27 (Freas Tr.) at 71:18-21.

           6.      John Pfahl, an expert witness for Defendants, testified that the total value to the

    OMC of the minerals “mined” was $68,993. Ex. 28 (Pfahl Tr.) at 27:11-16.

           7.      The OMC has not and will not suffer any lost revenue due to the presence of the

    Project rendering some minerals temporarily inaccessible. Ex. 29 (Pfahl Dec.) at Ex. 1 ¶¶ 93-95.

           8.      There is no 500-foot safety setback from the wind turbines. Rather, the surface

    leases for the Project provide that the lessors may erect buildings or other improvements on their

    land within 500 feet of the turbines, unless those improvements would interfere with wind flow to

    a given turbine. Ex. 26 (Pike Dec.) ¶¶ 4-5; Ex. 26-1 at Att. F § 15.1; Ex. 29 (Pfahl Dec.) ¶¶ 4-9.

           9.      If the Court were to order the Project removed, the net adverse economic impact on

    Osage Wind would be $258,729,611.70. That total is comprised of the loss of projected free cash

    flow (after expenses), liquidated damages and other payments that would be due under Osage

    Wind’s tax equity agreement, power purchase agreement, interconnection agreement, and surface




                                                      5
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 11 of 32




    leases, and the costs of dismantling and removing the Project (net of salvage value). Ex. 26 (Pike

    Dec.) at ¶ 2 & Att. A-C; Ex. 26-1 at Att. D-G; Ex. 6 (Sept. 30 Pike Tr.) at 151:14-169:9.

            10.     The Shidler Public Schools and the Woodland Public Schools receive annual

    payments attributable to taxes paid by Osage Wind. In 2021, the Shidler Public Schools and the

    Woodland Public Schools received approximately $1,683,000 and $500,000, respectively. Osage

    Wind bears 60% of the tax burden for the Shidler Public Schools. Ex. 30 (Rogers Dec.) ¶¶ 3, 5;

    Ex. 31 (Wilson Dec.) ¶ 3; Ex. 32 (Hulse Dec.) ¶ 6; Ex. 34 (Waller Tr.) at 129:22-132:8.

            11.     Ten people are employed full-time at the Project site as technicians and managers,

    who would lose their jobs if the Project were removed. Ex. 26 (Pike Dec.) at ¶ 3.

            12.     Pursuant to six leases, the surface estate owners of 8,400 acres in Osage County

    receive periodic payments from Osage Wind for an initial term of 25 years (with a 20-year Osage

    Wind renewal option), subject to termination if the Project were ordered removed. Ex. 33 (Smith

    Dec.) at ¶¶ 2-4, 6; Ex. 26 (Pike Dec.) at ¶ 2(e).

                                    ARGUMENT AND AUTHORITIES

    I.      Defendants—Not Plaintiff—Are Entitled to Summary Judgment on Plaintiff’s
            “Continuing Trespass” Claim.

            The conduct the Tenth Circuit ruled required a mining lease was the crushing of rock

    excavated from each turbine site, because “it acted upon the minerals by altering their natural size

    and shape in order to take advantage of them for a structural purpose.” See Osage Wind, 871 F.3d

    at 1091-92. As Defendants explain in their motion for partial summary judgment (Dkt. # 297 at

    15-18), and Plaintiff effectively concedes, that conduct ended nearly seven years ago and is not a

    continuing trespass. Nonetheless, Plaintiff now asserts three theories of continuing trespass. Pl.’s

    Br. 6-8. Only the first of those theories is (in part) pleaded in the Complaint and properly before

    the Court; all three fail on their merits as a matter of law.


                                                        6
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 12 of 32




           A.      The “Presence” of the Project Is Not and Never Has Been a Trespass.

           Plaintiff’s theory that the “presence of wind towers . . . without the permission of the OMC

    constitutes a continuing trespass” fails because the “presence” of the Project never required a

    mining lease. Pl.’s Br. 6. To the contrary, the Tenth Circuit held that Osage Wind, as the surface

    owners’ lessee, possessed “expansive authority granted to [them under the Osage Act] to use and

    develop their land,” including “digging a hole in the ground, displacing rock and soil in the

    process,” and “building” in the empty hole. See Osage Wind, 871 F.3d at 1092.

           Plaintiff’s attempt to read a single introductory sentence in the second paragraph of the

    Tenth Circuit’s opinion as condemning the entire Project as unauthorized “mining” cannot be

    reconciled with the body of the Tenth Circuit’s opinion. Pl.’s Br. 3 (“Osage Wind’s extraction,

    sorting, crushing, and use of minerals as part of its excavation work constituted ‘mineral

    development,’ thereby requiring a federally approved lease”) (quoting Osage Wind, 871 F.3d

    at 1081). The Tenth Circuit proceeded to carefully explain what “part of [Defendants’] excavation

    work constituted ‘mineral development,’” Osage Wind, LLC, 871 F.3d at 1081, and what did not.

    In particular, the Tenth Circuit held “mineral development” occurs when minerals are “acted upon

    for the purpose of exploiting the minerals themselves.” Id. at 1091-92. Crushing rock for backfill

    met this definition because “it acted upon the minerals by altering their natural size and shape in

    order to take advantage of them for a structural purpose.” Id. Excavating “a hole in the ground,

    displacing rock and soil in the process,” and then “building” in the empty hole, did not. Id. at 1092.

           Indeed, the Tenth Circuit repeatedly rejected Plaintiff’s theory that Osage Wind was

    required to obtain a mining lease to displace rock and soil in connection with turbine foundation

    construction. See id. (“[M]erely encountering or disrupting the mineral estate does not trigger the

    definition of ‘mining’ under 25 C.F.R. § 211.3.”); see also id. at 1089 (rejecting as “plainly wrong”



                                                      7
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 13 of 32




    contention that “any extraction of such minerals exceeding 5,000 cubic yards constitutes mining”),

    1091 (“We agree with Osage Wind, however, that merely encountering or incidentally disrupting

    mineral materials would not trigger § 211.3’s definition.”). That some of the rock removed was

    then crushed for backfill adjacent to the turbine foundations does not transform the presence of

    those foundations into unauthorized “mining” or continuing trespass.

           The Tenth Circuit’s holding is consistent with the common law rule that the surface owner,

    not the mineral estate, owns and has the right to use empty holes and surfaces exposed by

    excavation. See Ellis v. Ark. La. Gas Co., 450 F. Supp. 412, 421 (E.D. Okla. 1978) (holding that

    surface owner owns “depleted gas storage reservoir”); Sunray Oil Co. v. Cortez Oil Co., 112 P.2d

    792, 793 (Okla. 1941) (surface owner entitled to use “for the disposal of salt water” of dry well

    drilled for oil exploration); O’Brien Oil, LLC v. Norman, 233 P.3d 413, 417 (Okla. Civ. App. 2010)

    (holding that surface owners “own the plugged and abandoned wellbore”). The Project’s surface

    lessors owned each hole left behind by excavation, and it was no trespass for Osage Wind, their

    lessee, to pour a foundation onto the exposed surface of such holes.

           The decisions on which Plaintiff relies for the proposition that “[u]nder Oklahoma law an

    invasion of real property by a permanent structure constitutes a continuing trespass” (Pl.’s Br. 6),

    are not to the contrary, and each is distinguishable because there it was the surface rights holder

    who objected to a continued unauthorized presence on its real property. See Davilla v. Enable

    Midstream Partners L.P., 913 F.3d 959, 962 (10th Cir. 2019) (“individual Native American

    Allottees—who hold equitable title in the allotted land” brought trespass claim against defendant

    who “failed to remove” pipeline after “[a] twenty-year easement . . . expired”); Fairlawn Cemetery

    Ass’n v. First Presbyterian Church, 496 P.2d 1185, 1187 (Okla. 1972) (defendant church was

    “encroaching upon the land of the adjoining Cemetery” by “continuing the dirt fill on Cemetery’s



                                                     8
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 14 of 32




    property”); Angier v. Mathews Exploration Corp., 905 P.2d 826, 828 (Okla. Ct. App. 1995)

    (“surface owner” brought trespass claim for “locating the entry way for the access road at the

    [incorrect] southeast corner of [plaintiff’s] lands”). By contrast, the OMC had no right to prevent

    the surface owners, or Osage Wind their lessee, from excavating and then building a foundation in

    the resulting surface holes. See Osage Wind, 871 F.3d at 1091-92.

           Plaintiff’s assertion that “the presence of the . . . transmission lines and collector system”

    and other “ancillary infrastructure” also constitute “continuing trespass” fares no better. Pl.’s

    Br. 6. As with the wind turbine foundations, excavation of a surface hole and the placement of the

    Project’s transmission lines, collector system, or any other “ancillary infrastructure” into that hole

    does not require a mining lease under 25 C.F.R. Part 214 or constitute a “trespass” on the mineral

    estate. See Osage Wind, 871 F.3d at 1091-92. And Plaintiff presents no evidence that excavated

    rock was crushed for backfill in connection with any such “ancillary infrastructure.” It was not.

    RSUF ¶¶ 5-6. In any event, Plaintiff may not pursue a continuing trespass (or any other) claim

    with respect to “ancillary infrastructure,” because no such claim was pleaded in the Complaint.

    The only “structures or materials” alleged in the Complaint to constitute a “continuing trespass”

    were the turbine foundations. Dkt. # 20 (“FAC” or “Complaint”) at ¶¶ 2, 18, 57. If Plaintiff

    possessed any viable claims relating to transmission lines, the collector system, or other “ancillary

    infrastructure”—it does not—they should have been pleaded in the Complaint.

           B.      “Support” the Surface Receives from the Mineral Estate Does
                   Not Render the Project a Trespass.

           Plaintiff’s theory of “continuing invasion” of the mineral estate because “each wind tower

    uses the underlying minerals . . . for structural support” also fails. Pl.’s Br. at 8-9. No such theory

    was pleaded in the Complaint, which instead alleges that the “placement of materials or structures

    in the mineral estate is a continuing trespass.” FAC ¶ 57. Even had this theory been properly


                                                      9
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 15 of 32




    preserved in the Complaint, it would fail as a matter of law because it is inconsistent with the Tenth

    Circuit’s ruling in this case and other pertinent law, and would produce absurd results.

           The Tenth Circuit held it was when Osage Wind crushed rock for backfill that it “acted

    upon the minerals by altering their natural size and shape in order to take advantage of them for a

    structural purpose.” See Osage Wind, 871 F.3d at 1091-92. Nowhere did the Tenth Circuit hold,

    as Plaintiff now suggests, that because this crushing of rock served a “structural purpose,” the

    passive support the underlying mineral estate provides to the wind turbines requires a mining lease.

    See id. To the contrary, the Tenth Circuit repeatedly stressed that no lease is required when surface

    structures or activities “encounter,” “implicate,” “disrupt,” or “displace” minerals. See id. at

    1091-92. By the laws of physics, the wind turbines and their foundations—like every other surface

    structure—receive “support” from rock and soil beneath the surface. That is, at most, passive

    “encountering” of the mineral estate that neither requires a mining lease nor constitutes trespass.

    See id.; see also Davilla, 913 F.3d at 966 (trespass requires that “one person actually physically

    invades the real estate of another”). Were the rule otherwise, then every home, swimming pool,

    housing subdivision, apartment building, ranch, office building, shopping center, and courthouse

    in Osage County would, at this moment, be guilty of continuing trespass on the Osage mineral

    estate. Not so. The Tenth Circuit emphasized that “building a basement or swimming pool” does

    not require a mining lease, and recognized surface owners’ “expansive authority . . . to use and

    develop their land.” See Osage Wind, 871 F.3d at 1092.

           Plaintiff’s theory that a surface owner trespasses when it relies on the mineral estate for

    support is also inconsistent with common law, statutes, and regulations providing that the surface

    owner has a right to such support, and imposing liability on mineral lessees who cause damage by

    removing that support. For example, the Restatement (Second) of Torts provides that “[o]ne who



                                                     10
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 16 of 32




    negligently withdraws subjacent support of land in another’s possession or of artificial additions

    on it is subject to liability for harm resulting.” § 821; see also id. § 819 (regarding “lateral

    support”). Similarly, an Oklahoma statute provides that a surface owner is “entitled to the lateral

    and subjacent support which his land receives.” 60 Okla. Stat. Ann. § 66. As a result, an adjoining

    landowner must take “reasonable precautions to sustain the land of the other.” Id. If anything, 25

    C.F.R. Part 214 even more broadly protects the surface estate from injury from “mining

    operations” by a mineral lessee. See 25 C.F.R. § 214.14. Under those regulations, mineral lessees

    may only “use so much of the surface of the leased land as shall be reasonably necessary,” and

    even then “only under condition of least injury and inconvenience to the . . . owner of the land.”

    Id. And mineral lessees “shall pay all reasonable damages . . . to improvements on said land, or

    any damage that during the life of the lease may be occasioned in any manner whatsoever by the

    use of the surface.” Id.; see also Millsap v. Andrus, 717 F.2d 1326, 1329 (10th Cir. 1983) (25

    C.F.R. § 214.4 “grant[s] the land surface owner a right to damages from the licensee”). Plaintiff

    has it backwards: Surface structures do not “trespass” on underlying rock and soil from which

    they receive support, but a mineral lessee has a duty to avoid unnecessary interference with that

    support and is liable for any resulting damage.

           C.      The Alleged “Buffer Zone” Around the Wind Turbines Is Not a Trespass.

           Plaintiff’s theory that there exists a “500-foot radius, or buffer zone, around each wind

    tower wherein the OMC is unable to safely access and develop the OME,” fails as “continuing

    trespass.” Pl.’s Br. 7-8. Neither Count IV nor anywhere else in the Complaint mentions this

    alleged “buffer zone.” Even were it properly before the Court, such a “buffer zone” is not a

    trespass because it does not constitute an “actual physical invasion” of real estate. Williamson v.

    Fowler Toyota, Inc., 956 P.2d 858, 862 (Okla. 1998). For this reason, the U.S. District Court of



                                                      11
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 17 of 32




    the Western District of Oklahoma dismissed an almost identical trespass claim “premised on a ‘de

    facto ‘no-build’ zone in a fifteen hundred foot (1500) radius surrounding the Turbine.’” Walker

    v. Apex Wind Constr., LLC, 2015 WL 3686729, at *2 n.3 (W.D. Okla. June 12, 2015). The court

    “underscore[d]” that “a claim for trespass requires an actual physical invasion of the real property

    of another.” Id.; see also Beal v. Western Farmers Elec. Coop., 228 P.3d 538, 541 (Okla. Civ.

    App. 2009) (“[T]he emission of an [electromagnetic field] or stray electricity from an electrical

    transmission line is insufficient to support a claim of trespass.”). If an alleged 1,500-foot “buffer

    zone” surrounding a wind turbine fails as a matter of law to state a trespass claim, then an alleged

    500-foot “buffer zone” cannot be a trespass, either.

           Plaintiff’s “buffer zone” theory is a transparent attempt to revive in modified form the

    OMC’s failed action to enjoin the Project on the basis that “the Wind Farm will violate 25 C.F.R.

    § 226.19” because it “will interfere with the Tribe’s right to use so much of the surface of the land

    within the Osage Mineral Estate as may be reasonable for oil and gas development.” Osage Nation

    ex rel. Osage Mins. Council v. Wind Cap. Grp., LLC, 2011 WL 6371384, at *2, 7 (N.D. Okla. Dec.

    20, 2011) (Frizzell, J.). This Court dismissed that claim on the merits, finding in part:

           Plaintiff did not present evidence of legally cognizable conflict between any
           mineral lessee’s planned surface use and the Wind Farm’s planned facilities.
           Plaintiff presented one mineral lessees’ plans for future drillsites and construction
           of related infrastructure that may occur within the boundaries of the Wind Farm.
           The Court concludes that if any actual and/or legally cognizable conflict should
           arise, and if the conflict cannot be resolved by reasonable accommodations, the
           mineral lessee may file suit in a court of appropriate jurisdiction.

    Id. at *8. Here the Complaint expressly disclaims “any allegations that concern oil and gas

    development” (FAC at 5 n.1), and pleads no claim under 25 C.F.R. § 226.19 or 25 C.F.R. § 214.14,

    i.e., the analogous regulation governing “reasonably necessary” use of surface lands by the OMC’s

    lessees when mining hard minerals. Nor does the Complaint allege the Project prevented or will

    prevent any mineral lessee from engaging in mining operations.
                                                     12
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 18 of 32




           Regardless, the Motion presents no evidence that, at any time in the eight years that have

    passed since construction of the Project began, any putative lessee of the OMC has been prevented

    from mining anywhere in the 8,400 acres that Osage Wind leases from the surface owners. Nor is

    there any evidence that such a lessee plans to engage in mining on that acreage were the Project

    ordered removed. Unlike the (inadequate) showing this Court rejected in 2011, here Plaintiff fails

    even to prove “one mineral lessees’ plans . . . within the boundaries of the Wind Farm.” See Osage

    Nation ex rel. Osage Mins. Council, 2011 WL 6371384, at *8. The testimony of Defendants’

    expert witness in mining engineering, John Pfahl, further demonstrates the OMC has not and will

    not lose any revenue due to the presence of the Project. AMF ¶ 7. Tellingly, Plaintiff declined to

    offer rebuttal expert testimony on these points. Ex. 27 (Freas Tr.) at 89:11-91:10, 101:22-102:10.

    Plaintiff’s attempt to repackage a claim dismissed a decade ago should be rejected.

           Last, Plaintiff also misstates the facts when it asserts it would be “unsafe for mining

    operations to take place within a 500-foot radius of each wind tower.” Pl.’s Br. 7. To the contrary,

    there is no 500-foot safety setback from the wind turbines. AMF ¶ 8.

    II.    Defendants—Not Plaintiff—Are Entitled to Summary Judgment on Plaintiff’s
           Demand for Removal of the Project.

           The sole basis pleaded by Plaintiff for “an order that structures or materials placed . . . be

    removed” is “continuing trespass.” FAC at 12 & ¶ 57. Thus, Plaintiff’s demand for removal of

    the Project should be dismissed with its continuing trespass claim. Any demand for an injunction

    against the Project also fails as a matter of law to satisfy the Davilla test. Plaintiff’s purported

    “legal remedy of ejectment” is no answer to those defects.

           A.      Plaintiff Cannot Satisfy the Requirements for a Permanent Injunction.

           The Tenth Circuit reversed as an abuse of discretion the entry of a permanent injunction

    “ordering [defendant] to remove the pipeline on the basis of [continuing trespass] liability alone.”


                                                    13
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 19 of 32




    Davilla, 913 F.3d at 973. Plaintiff must satisfy three elements: (1) “an injunction is necessary to

    prevent ‘irreparable harm,’” (2) “the threatened injury outweighs the harm that the injunction may

    cause,” and (3) the injunction would not “adversely affect the public interest.” Id. It satisfies none.

                   1.      No Irreparable Harm Will be Suffered Absent an Injunction.

           It is Plaintiff’s burden to show that absent an injunction it will suffer injury not “merely

    serious or substantial,” but “certain, great, actual and not theoretical,” and not “compensable by

    monetary damages.” Schrier v. Univ. of Colo., 427 F.3d 1253, 1267 (10th Cir. 2005). The only

    injury to Plaintiff when Osage Wind crushed excavated rock for backfill was the loss of royalties

    the OMC would have received had Osage Wind instead purchased backfill from one of the local

    quarries operating under lease from the OMC. As Defendants explain in their motion for partial

    summary judgment, that injury is compensable in money damages and Plaintiff’s own expert

    calculated such damages down to the penny. Dkt. # 297 at 20-22; AMF ¶¶ 5-6. Neither of

    Plaintiff’s two theories of irreparable harm succeeds.

           First, Plaintiff invokes continuing trespass when it asserts that “such trespass . . . continues

    to utilize the OME minerals without a lease.” Pl.’s Br. 21. The Tenth Circuit rejected the theory

    that the mere assertion of continuing trespass relieves the plaintiff of its burden to prove it will

    suffer irreparable harm absent an injunction. See Davilla, 913 F.3d at 974 (rejecting request to

    affirm permanent injunction on “the sheer right to exclude,” where “the Allottees do not explain

    how the pipeline’s presence works ‘irreparable harm’ otherwise”). Regardless, Plaintiff’s claim

    for continuing trespass fails as a matter of law and cannot support an injunction. See Part I, supra.

           Second, Plaintiff asserts “Defendants’ trespass interferes with the self-governance of the

    Osage Nation.”      Pl.’s Br. 21.   Beyond rote recitation of the words “self-governance” and

    “sovereignty,” however, Plaintiff fails to offer any evidence of such injury, or demonstrate that



                                                      14
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 20 of 32




    cases enjoining ongoing interference by state governments with laws passed by Indian tribal

    governments apply to long-since-ended rock crushing by a private company. A review of those

    decisions confirms they do not. In Seneca-Cayuga Tribe of Oklahoma v. State of Oklahoma ex

    rel. Thompson, the only decision Plaintiff cites for this theory, plaintiff Indian tribes obtained an

    injunction against Oklahoma and state and local officials, including county district attorneys and

    sheriffs and a state judge, that “enjoined Judge Douthitt from proceeding with the state court suit

    between the State and the Tribes, and enjoined the State from interfering with the operation of the

    bingo games.” 874 F.2d 709, 710-11 (10th Cir. 1989). As the Tenth Circuit explained, “the State

    seeks here to assert the authority to regulate activities established by Indians under tribal

    ordinances and operating in Indian Country.” Id. at 713. And given the Indian tribes’ “sovereign

    immunity,” the state-court action “forced [the tribes] to expend time and effort on litigation in a

    court that does not have jurisdiction over them.” Id. at 716. The Tenth Circuit affirmed the

    injunction in part because in these circumstances “the Tribes would face the prospect of significant

    interference with their self-government.” Id. By contrast, no ongoing state interference with

    Indian tribal self-government exists here. Plaintiff cites no decision holding that the mere fact that

    real property is owned by an Indian tribe makes every ordinary private trespass on such property

    an irreparable injury to “self-government.” We are aware of none. See Dkt. # 297 at 22-23.5

                   2.      The One-Sided Balance of Harms Precludes an Injunction.

           As Plaintiff fails to demonstrate any harm (let alone irreparable harm) would be prevented

    by an injunction ordering the removal of the Project, it cannot demonstrate that such harm



    5
     Nor have Plaintiff or the OMC otherwise treated unauthorized mining as “irreparable” harm only
    remedied by removal: In 2014, the OMC’s lessee Burbank Materials mined in areas for which it
    had no lease and, rather than seeking ejectment, the OMC accepted payment of royalties and
    granted an expanded lease covering the additional areas. Ex. 23 (Phillips Tr.) at 151:8-153:13.

                                                     15
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 21 of 32




    outweighs hundreds of millions of dollars in inevitable injury Osage Wind would suffer. See

    Sierra Club, Inc. v. Bostick, 539 Fed. App’x 885, 889-90 (10th Cir. 2013) (affirming denial of

    injunction against pipeline where TransCanada Corporation and its project company would lose

    “hundreds of thousands of dollars each day,” which “outweigh[ed]” plaintiff’s “threatened

    environmental injuries”). Plaintiff’s assertion that “Defendants have no injury” (Pl.’s Br. 22) if

    ordered to remove the Project ignores this Court previously found, even before construction had

    begun, that Osage Wind would suffer hundreds of millions of dollars in “certain harm” from an

    injunction, comprised of lost “estimated future profits,” “expenses paid to date,” and payments to

    counterparties for which it would “remain contractually obligated.” Osage Nation ex rel. Osage

    Mins. Council, 2011 WL 6371384 at *2, 11. It is just as “certain” now that Osage Wind, as owner

    and operator of the Project, would suffer serious harm from the forced removal of a 150 MW wind

    generation facility, and that such harm would include not only the costs of dismantling the Project’s

    84 wind turbines and associated infrastructure, but also costs from Osage Wind’s resulting inability

    to satisfy obligations to counterparties, and loss of the cash flow the Project otherwise would have

    generated over its intended life. Indeed, Stephen Pike, a Senior Vice President of Osage Wind

    responsible for the operations and maintenance of the Project from the completion of construction

    in 2015 through 2020, testified that Osage Wind would suffer such harms together totaling over

    $258.7 million were it ordered to remove the Project. AMF ¶ 9.

           While Plaintiff derides this evidence as “insufficient,” it proffers no contrary evidence

    Osage Wind would suffer less than $258.7 million in harm from the removal of the Project—let

    alone “no injury.” Pl.’s Br. 22. And there is no requirement that Osage Wind retain an expert to

    testify that Osage Wind itself would suffer harm from the forced removal of the Project it owns

    and operates. See Malloy v. Monahan, 73 F.3d 1012, 1015-16 (10th Cir. 1996) (holding testimony



                                                     16
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 22 of 32




    of plaintiff “involved in the purchase, rehabilitation, and sale of distressed residential properties”

    as to “lost future profits of his own real estate ventures” was admissible).

           Plaintiff’s suggestion that courts may ignore the harm an injunction would cause the

    defendant in trespass cases is unfounded. Pl.’s Br. 22. Unlike the bus line in Greyhound Lines,

    Inc. v. Peter Pan Bus Lines, Inc., enjoined from “continuing trespass” by sending paid “hawkers”

    with bullhorns into a competitor’s bus terminal on an ongoing basis, here crushing rock for backfill

    ended nearly seven years ago. 845 F. Supp. 295, 302 (E.D. Pa. 1994). And the hundreds of

    millions of dollars in harm Osage Wind would suffer from the forced removal of the Project is

    orders of magnitude greater than whatever harm could befall a bus line from an order that its

    “hawkers” remain “outside the Greyhound terminal” rather than inside of it. Id. at 296. Indeed,

    in Greyhound there was “no contention by the defendant, nor could there be, that the defendant

    would be harmed by an injunction to a greater extent than the plaintiff would be were the injunction

    not issued.” Id. at 302. Not true here. Likewise, Plaintiff’s assertion that Defendants “chose to

    proceed with expensive investments of capital, equipment, personnel, and contractual obligations”

    is not a license to ignore the extreme injury that would result from the forced removal of the Project

    now. Pl.’s Br. 23. Davilla is controlling that “the sheer right to exclude simply cannot begin and

    end the equitable analysis” even in cases of “continuing trespass on allotted land,” which this case

    is not. Davilla, 913 F.3d at 973-74. It remains Plaintiff’s burden to prove “the threatened injury

    outweighs the harm that the injunction may cause to the enjoined party.” Id. at 973.

                   3.      Compelling Public Interests Preclude an Injunction.

           Plaintiff’s blithe assertion that there is “no identifiable public interest” (Pl.’s Br. 24) that

    would be harmed by the forced removal of the Project is remarkable, not least given that this Court

    previously “conclude[d] that an injunction against the Wind Farm would adversely affect the



                                                     17
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 23 of 32




    public interest.” Osage Nation ex rel. Osage Mins. Council, 2011 WL 6371384 at *11. This Court

    found the Project was expected to provide numerous public benefits, including that it would

    “generate $20 million dollars in local tax revenues over 20 years, including $1.5 million for Shidler

    schools during the first few years,” “employ . . . 10–12 permanent employees,” provide local

    surface owners with “lease payments over the 20-year life of the Wind Farm,” offer a “renewable,

    relatively stable energy source,” and “power 50,000 homes.” Id. at *6. Each of those expected

    benefits has been realized but would be lost were the Project removed. AMF ¶¶ 4, 10-12.

           Loss of tax revenues for Osage County and two local school districts would harm the public

    interest. Muscogee (Creek) Nation v. Henry, 2010 WL 1078438, at *6 (E.D. Okla. Mar. 18, 2010)

    (denying injunction where resulting “loss of tax revenue . . . damages the public interest”). Loss

    of jobs for Oklahoma residents and lease payments for Osage County landowners would harm the

    public interest. See Gen. Motors Corp. v. Harry Brown’s, LLC, 563 F.3d 312, 321 (8th Cir. 2009)

    (holding that “public interest in maintaining nineteen jobs . . . weighed against an injunction”).

    And loss of clean, renewable energy for over 50,000 homes would harm the public interest. See

    W. Watersheds Project v. Salazar, 692 F.3d 921, 923 (9th Cir. 2012) (affirming denial of injunction

    against solar project given “possible damage to . . . state and national renewable energy goals”).

    Even OMC Chairman Everett Waller acknowledged the forced removal of the Project would be a

    “major event” for “[a]ll parties concerned.” Ex. 34 (Waller Tr.) at 127:13-16. Chairman Waller

    testified he “care[s] whether or not the removal of this wind farm might cost the Shidler School

    District as much as $1.5 million a year in lost taxes,” acknowledging “you’ve got Osages there

    too.” Id. at 129:22-132:8. He further testified he “care[s] about those potential lost jobs if this

    wind farm were removed.” Id. at 132:9-15. Plaintiff’s (and the OMC’s) demand for the forced

    removal of the Project, however, dismisses those concerns.



                                                     18
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 24 of 32




           Plaintiff’s suggestion that the Court overlook such harms because these “regulations . . .

    allow alienation in a specific manner” is unpersuasive. Pl.’s Br. 24. This is not a case where a

    federal statute “mandates injunctive relief as remedy for a violation” and thus “constrained the

    courts’ traditional discretion to determine whether such relief is warranted.” First W. Cap. Mgmt.

    Co. v. Malamed, 874 F.3d 1136, 1141 (10th Cir. 2017). 25 C.F.R. Part 214 does not authorize (let

    alone mandate) injunctive relief or even impose fines for “mining” without a lease. Plaintiff’s

    speculation that “the regulations’ drafters did not contemplate anyone would mine . . . without

    having first obtained a valid lease” (Pl.’s Br. 10 n.4) overlooks that the “drafters” provided for

    such fines in 25 C.F.R. Part 226 governing oil and gas leasing. See 25 C.F.R. § 226.43(a).6

           Plaintiff also fails to demonstrate that an order that the Project be removed would serve the

    public interest in “tribal self-government and an independent source of income.” Pl.’s Br. 23-24.

    Crushing rock for backfill was at most an ordinary private trespass for which Plaintiff may seek to

    prove actual damages, and did not interfere with “tribal self-government.” Part II.A.1, supra.

    Plaintiff makes no attempt to explain (much less demonstrate) how demolishing the Project would

    strengthen “self-government” or any “source of income.” Any suggestion by Plaintiff that the

    OMC would collect additional mining royalties upon removal of the Project is speculation

    unsupported by any admissible evidence. AMF ¶ 7. 7



    6
     The decisions cited by Plaintiff (and the OMC) concern the public interest in government officials
    complying with federal statutes, which is not at issue here. See, e.g., Kobach v. Fish, 840 F.3d
    710, 755-56 (10th Cir. 2016) (Kansas officials enjoined from violation of federal election law).
    7
     Plaintiff’s “alternative[]” request for “another form of injunction” ordering Osage Wind “to shut
    down the turbines” unless it obtains a mining lease fares no better. Pl.’s Br. 19-20. No such “form
    of injunction” (id.) was pleaded and it is too late for new theories of relief. Opinion and Order,
    Dkt. # 161 at 12-13. It would be senseless to order Osage Wind to obtain a mining lease when the
    only “mining” ended years ago and the presence of the Project requires no lease. Plaintiff remains
    unable to demonstrate any harm that would be prevented by such injunction. And given the
    OMC’s implacable opposition to the Project and demand for “hold up” value damages in this
                                                    19
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 25 of 32




            B.      Plaintiff Cannot Evade the Requirements for a Permanent
                    Injunction with its Purported “Legal Remedy of Ejectment.”

            Plaintiff’s demand for a “legal remedy of ejectment” should be dismissed for three reasons.

    Pl.’s Br. 14-15. First, this Court ruled that last year was too late for Plaintiff to “make its ‘prayer

    for relief’ a ‘moving target’ by adding a litany of additional forms of relief.” Dkt. # 161 at 13. A

    demand for “injunctive relief . . . including ejectment” was among the proposed “additional forms

    of relief” this Court rejected. Id. at 6. And, until now, it “appear[ed] to be uncontested that, in the

    context of an alleged trespass on Indian land, ejectment is a form of injunctive relief,” rather than

    a freestanding legal remedy allegedly unconstrained by equitable concerns. See Opinion and

    Order, Dkt. # 264 at 24 n.10; see also Dkt. # 103 (proposed Second Amended Complaint) at 13-14

    (seeking “ejectment” as “injunctive relief”). Second, the Tenth Circuit has rejected Plaintiff’s

    theory that “the sheer right to exclude” a trespasser alone is sufficient to order the removal of

    energy infrastructure “with no further weighing of the equities.” Davilla, 913 F.3d at 973-74.

    Instead, a district court must follow the “well-developed federal common law standard for issuing

    a permanent injunction.” Id. at 973. Davilla controls and this Court should apply the three-part

    test for injunctive relief to Plaintiff’s demand for removal of the Project, however styled. Dkt.

    # 264 at 25 (explaining the Court would apply “the Davilla factors” to “remedies of injunction and

    ejectment”). 8 Third, a demand for ejectment fails on its merits because Defendants do not

    “currently possess” the “occupancy and use of the OME.” Pl.’s Br. 15. The rock crushed for

    backfill in 2014 remains in the ground at the sites from which it was excavated. AMF ¶¶ 1-2. And


    litigation, there is no reason to believe a “shut down” would be “temporar[y]” (Pl.’s Br. 20), or
    save Osage Wind or the public from the severe harms catalogued above.
    8
     Plaintiff’s citation to dicta in centuries-old decisions does not change this result. See, e.g., Marsh
    v. Brooks, 49 U.S. 223, 232 (1850) (holding Iowa court erred when it “decided that the patent
    obtained . . . by Reddick’s heirs was a better title than the reservation,” and noting in dicta that “an
    action of ejectment could be maintained on an Indian right to occupancy and use”).

                                                      20
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 26 of 32




    the continued presence of the Project on the surface and in holes from which rock and soil were

    excavated years ago requires no mining lease and is not a trespass of any kind. Part I.A, supra.

    Simply put: Plaintiff cannot “eject” Defendants from the mineral estate because Defendants are

    not occupying the mineral estate. 9

    III.   The Calculation of Damages Must Await a Trial.

           A.      Plaintiff’s Demand for “Lost Rental Value for the Entire Mineral Estate”
                   Has No Basis in Law or Fact and, at Most, Presents Factual Disputes.

           Plaintiff asserts its demand for $25,969,607 in trespass damages represents “lost rental

    value for the entire mineral estate” calculated as “the amount Defendants paid to lease the entire

    surface” for a 45-year term. Pl.’s Br. 11. Among many other errors, Plaintiff grossly overstates

    the property subjected to trespass (only the volume of rock crushed for backfill) and the duration

    of that trespass (hours or days at a given turbine site, completed at all sites over a few months).

    Plaintiff cites no precedent—let alone Oklahoma precedent, to which this Court should look for

    “guidance on measure of damages” (Pl.’s Br. 10)—for trespass damages that include “rental value”

    of property that was not subjected to trespass, extending for decades after any trespass ended. The

    cases it cites are to the contrary. In Beck v. Northern Natural Gas Company, for example, each of

    the plaintiff landowners whose property was used by the defendant to store natural gas for a period

    of 17 years was awarded “fair rental value of the property for the period in question” on a “per

    acre” basis. 170 F.3d 1018, 1021 (10th Cir. 1999) (applying Kansas law).




    9
      Plaintiff’s demand for an “accounting” of “all profits derived from the wind project” should be
    rejected for similar reasons. Pl.’s Br. 14. This Court denied Plaintiff leave to assert a demand for
    “an accounting of revenue attributable to the wind farm.” Dkt. # 161 at 12. Nor has plaintiff
    demonstrated it lacks an adequate remedy in damages. Haynes Trane Serv. Agency, Inc. v. Am.
    Standard, Inc., 573 F.3d 947, 964 (10th Cir. 2009) (“[A]n equitable remedy—such as an
    accounting—is not proper if there is an adequate remedy at law.”).

                                                    21
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 27 of 32




           Nor is Plaintiff’s damages demand supported by its suggestion the Court take “guidance”

    from regulations regarding grazing permits on Indian agricultural land. Pl.’s Br. 10. Those

    regulations have no application here and 25 C.F.R. Part 214 contains no comparable provisions.

    And Plaintiff mischaracterizes the conclusion of the Tenth Circuit’s opinion as somehow directing

    this Court to impose “fair rental value . . . in the form of a lease.” Pl.’s Br. 12. It did no such

    thing, instead briefly summarizing the holding and remanding “for further proceedings consistent

    with this opinion.” See Osage Wind, 871 F.3d at 1093.

           Plaintiff’s misreading of the Tenth Circuit’s ruling also underlies the false assumption that

    Defendants would have had no choice but to pay whatever “hold up” price the OMC might demand

    because the Project supposedly could not lawfully exist without a mining lease. This assumption

    is how Plaintiff (incorrectly) concludes “the surface leases are useless unless Defendants also

    acquire a federally approved lease” (Pl.’s Br. 11 n.9), and Plaintiff’s purported valuation “expert”

    Steven Hazel speculates damages should be at least equal to “the amounts paid, or willing to be

    paid by Osage Wind to the Surface Owners.” Pl.’s Ex. 8 (Hazel Report) at 7; Ex. 35 (Hazel Tr.)

    at 155:4-157:12, 159:5-16. Even had the Tenth Circuit’s opinion been available then, however,

    Osage Wind never would have paid a “hold up” price to the OMC but instead “could have used

    substitute materials purchased offsite” (SUF ¶ 7) for backfill around the turbine foundations, with

    no rock crushing or mining lease required. See Osage Wind, 871 F.3d at 1091-92. The Project’s

    presence has never required a mining lease. See id.; Part I, supra.

           If such offsite backfill had been purchased from a quarry in Osage County, the OMC would

    have received royalties equal to the price per ton provided in the OMC’s leases with that quarry.

    Using that contemporaneous royalty price, Defendants’ expert witness in mining engineering, John

    Pfahl, testified that the total value to the OMC of the volume of minerals “mined” was $68,993.



                                                    22
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 28 of 32




    AMF ¶ 6. Plaintiff’s assertion that Defendants would have paid the OMC nearly $26 million for

    a lease equates to more than 376 times Mr. Pfahl’s estimate of the royalty value of all the rock

    crushed for backfill. Plaintiff’s expert witness in mining engineering, Robert C. Freas, testified

    that the total royalty value to the OMC of the volume of minerals “mined” was $247,979.42. AMF

    ¶ 5. Thus, Plaintiff’s damages demand equates to more than 104 times the (itself exaggerated)

    estimate by Plaintiff’s own expert of the royalty value of all of the minerals excavated for the entire

    Project. 10 It defies reason that the OMC would ever be entitled to “lost rental value” damages

    hundreds of times greater than the royalties the OMC would have received had Osage Wind instead

    purchased the same volume of crushed rock from a local quarry.

           For these and other reasons, Defendants soon will file a motion to strike Mr. Hazel’s

    testimony pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

    Inc., 509 U.S. 579 (1993), on grounds that he is unqualified on these subject matters and his

    opinions are not the product of reliable methods. If Mr. Hazel’s testimony were excluded,

    Plaintiff’s motion for summary judgment as to damages would be wholly unsupported by any

    admissible evidence. Even if Mr. Hazel’s testimony were deemed admissible, Mr. Pfahl and

    Defendants’ wind energy development expert Kimberlee Centera offer expert testimony rebutting

    Mr. Hazel’s opinions. Ex. 29 (Pfahl Dec.) at Ex. 1, ¶¶ 104-110; Ex. 36 (Centera Dec.) at Ex. 1,

    pp. 2-4. Such a “battle of the experts” presents “a credibility determination” that “requires a trial.”

    Abilene Retail # 30, Inc. v. Bd. of Comm’rs, 492 F.3d 1164, 1188 (10th Cir. 2007) (Ebel, J.,

    concurring); see also Lapham v. Watts Regulator Co., 2016 WL 248471, at *6 (D. Kan. Jan. 21,

    2016) (denying summary judgment where “conflicting opinions . . . create genuine issues of


    10
      Mr. Freas’s estimate overstates both the quantity of minerals “mined” and the value of those
    minerals (among other errors). Ex. 28 (Pfahl Tr.) at 23:18-29:9, 31:20-32:2, 127:4-15,
    166:15-167:1, 203:6-204:4; Ex. 29 (Pfahl Dec.) at Ex. 1, ¶¶ 96-103. These are issues for trial.

                                                      23
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 29 of 32




    material fact”). In no event has Plaintiff demonstrated an entitlement as a matter of law to

    $25,969,607 in trespass damages.

           B.      The Measure of Damages That Should Be Applied at Trial is the Royalty
                   Value to the OMC of the Volume of Rock Crushed by Defendants.

           At trial, Defendants will ask this Court to award no greater than $68,993 in damages to

    Plaintiff. That amount equals royalties lost to the OMC when Defendants crushed rock for backfill

    at the turbine sites rather than purchasing the same volume of crushed rock from an OMC lessee

    at a local quarry. See Weyerhaeuser Co. v. Brantley, 510 F.3d 1256, 1268 (10th Cir. 2007)

    (affirming award of “$10,000 in damages for lost timber profits” where trespass prevented use of

    property as tree farm) (applying Oklahoma law). At most, this Court should apply the measure of

    damages in Oklahoma when minerals have been produced and sold without authorization: market

    value of the minerals at the surface less cost. See Dilworth v. Fortier, 405 P.2d 38, 39-40 (Okla.

    1964); Edwards v. Lachman, 534 P.2d 670, 674 (Okla. 1974). Although well-established under

    Oklahoma law (unlike Plaintiff’s demand for “lost rental value for the entire mineral estate”), it is

    not wholly apt here because this is not a case where minerals have been sold. AMF ¶¶ 1-2. Such

    an award could result in an unwarranted windfall to the OMC, therefore, if it were to receive

    damages derived from the full market value of the crushed rock while that same rock remains on

    the land. Determining damages under either measure, however, must await trial.

           C.      At Most, Plaintiff’s Unfounded Attacks on Defendants’ Good Faith
                   Present Factual Disputes Not Suitable for Summary Judgment.

           In an attempt to preclude deduction of costs at trial and thereby impose exemplary damages

    under Dilworth, the United States requests summary judgment that Defendants did not act in good

    faith. Pl.’s Br. 15-19. That request should be denied as unsupported by admissible evidence;

    nearly all of the factual assertions and exhibits on which it depends should be stricken for

    noncompliance with LCvR56(b).         See p. 2 n.2, supra. Further, Defendants incorporate by

                                                     24
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 30 of 32




    reference their Opp. to OMC, Part II.B, which explains that, contrary to Plaintiff’s accusations, the

    record amply demonstrates Defendants’ good-faith efforts to understand and comply with mining

    lease regulations, and their reliance on the advice of outside counsel that no mining lease or permit

    was required to crush rock for backfill, or otherwise. RSUF ¶ 7 & n.4. At minimum, there are

    genuine issues of material fact as to Plaintiff’s and the OMC’s accusations of bad faith.

           While Plaintiff’s and the OMC’s arguments are nearly identical, Plaintiff further asserts

    Defendants “ignored the BIA’s requests to cease mining” and “refuse[d] to meet with the Osage

    Nation.” Pl.’s Br. 14. Not true. Defendants extensively consulted with the BIA and explained

    that Defendants’ outside counsel had advised that their activities, including rock crushing, did not

    constitute mining or require a lease. Ex. 17 (re: Oct. 15, 2014 call); Ex. 37 (Oct. 21, 2014 email);

    Ex. 51 (Oct. 21, 2014 email); Ex. 52 (re: Nov. 11, 2014 call); Ex. 23 (Phillips Tr.) at 112:19-115:2

    (re: Oct. 15, 2014 call). There is no evidence the BIA responded with an explanation of why it

    believed Defendants were incorrect before it filed suit. Ex. 7 (Champagne Tr.) at 91:17-21; Ex. 51;

    Ex. 52. Defendants repeatedly sought to meet with the Osage Nation, but were rebuffed. Ex. 38

    (Nov. 19, 2014 letter); Ex. 39 (Nov. 21, 2014 letter); Ex. 40 (May 13, 2015 letter); Ex. 41 (May 26,

    2015 letter).

                              CONCLUSION AND REQUESTED RELIEF

           For the foregoing reasons, Defendants respectfully request the Court deny the Motion in

    its entirety, except as to liability on Count III (Trespass) and Count V (Conversion) as against

    Osage Wind and EGPNA (only), with damages to be awarded in an amount determined at trial. 11




    11
       For purposes of appeal, Defendants maintain they should be permitted to present their
    affirmative defenses of estoppel, laches, waiver, unclean hands, and in pari delicto, as to which
    this Court previously granted a judgment on the pleadings. Dkt. # 99 at 12-13, # 174 at 15-16.

                                                     25
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 31 of 32




                                       Respectfully submitted,

                                       /s/ Ryan A. Ray
                                       Ryan A. Ray, OBA # 22281
                                       NORMAN WOHLGEMUTH, LLP
                                       3200 Mid-Continent Tower
                                       401 South Boston Avenue
                                       Tulsa, OK 74103
                                       918-583-7571
                                       918-584-7846 (facsimile)

                                       -and-

                                       Lynn H. Slade, pro hac vice
                                       Sarah M. Stevenson, pro hac vice
                                       Dominic A. Martinez, pro hac vice
                                       MODRALL, SPERLING, ROEHL, HARRIS
                                       & SISK, P.A.
                                       Post Office Box 2168
                                       Albuquerque, NM 87103-2168
                                       505-848-1800
                                       505-848-9710 (facsimile)

                                       -and-

                                       Thomas J. McCormack, pro hac vice
                                       Robert Kirby, pro hac vice
                                       NORTON ROSE FULBRIGHT US LLP
                                       1301 Avenue of the Americas
                                       New York, NY 10019
                                       212-318-3000
                                       212-318-3400 (facsimile)

                                       Of Counsel:
                                       Robin D. Ball (Los Angeles Office), pro hac vice
                                       Robert D. Comer (Denver Office), pro hac vice
                                       NORTON ROSE FULBRIGHT US LLP

                                       ATTORNEYS FOR DEFENDANTS
                                       OSAGE WIND, LLC, ENEL KANSAS, LLC
                                       AND ENEL GREEN POWER NORTH
                                       AMERICA, INC.




                                         26
Case 4:14-cv-00704-GKF-JFJ Document 321 Filed in USDC ND/OK on 11/02/21 Page 32 of 32




                                    CERTIFICATE OF SERVICE

           I hereby certify that on November 2, 2021, I electronically transmitted the attached
    Document to the Clerk of the Court using the ECF System for filing. Based on the electronic
    records currently on file, the Clerk of the Court will transmit a notice of Electronic Filing to the
    following ECF registrants:

    Cathryn D. McClanahan
    Nolan Fields IV
    Stuart P. Ashworth
    Mary Kathryn Nagle
    Wilson Kirk Pipestem
    Abi Laura Fain
    David McCullough
    Jeffrey S. Rasmussen
    The following non-ECF registrants have been served by email:

    Charles R. Babst, Jr.
    Attorney-Advisor
    United States Department of the Interior
    Office of the Solicitor
    Tulsa Field Solicitor Office
    7906 East 33rd Street
    Tulsa, OK 74145
    (918) 669-7730
    Charles.babst@sol.doi.gov
    Attorney for the United States of America


    /s/ Ryan A. Ray
    Ryan A. Ray




                                                    27
